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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA
_______________________________
                                )
MATTHEW GREEN, et al.,          )
                                )
          Plaintiffs,           )
                                )
     v.                         ) Civil Action No. 16-1492 (EGS)
                                )
U.S. DEPARTMENT OF JUSTICE,     )
et al.,                         )
                                )
          Defendants.           )
                                )



                                 ORDER



     For the reasons stated in the accompanying Memorandum

Opinion, defendants’ motion to dismiss is GRANTED IN PART and

DENIED IN PART; and it is hereby

     ORDERED that plaintiffs’ overbreadth claim is DISMISSED;

and it is further

     ORDERED that plaintiffs’ prior restraint claim is

DISMISSED; and it is further

     ORDERED that defendants’ motion to dismiss plaintiffs’ as-

applied claims is DENIED; and it is further

     ORDERED that plaintiffs’ Administrative Procedure Act

claims are DISMISSED; and it is further
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    ORDERED that plaintiffs’ motion to take judicial notice is

GRANTED.

    SO ORDERED.

Signed:    Emmet G. Sullivan
           United States District Judge
           June 27, 2019




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